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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES OF AMERICA                   §
                                            §
 VS.                                        §      CRIMINAL NO. 4:08-CR-119-Y
                                            §
 JORGE LARIZ II (17)                        §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

       After reviewing all relevant matters of record, including the

 Consent to Administration of Guilty Plea and Federal Rule of

 Criminal Procedure 11 Allocution by United States Magistrate Judge

 and the Report and Recommendation on Plea Before the United States

 Magistrate Judge, and no objections thereto having been filed

 within fourteen (14) days of service in accordance with 28 U.S.C.

 § 636(b)(1), the undersigned district judge concludes that the

 report and recommendation of the magistrate judge on the plea of

 guilty   is   correct,    and   it   is    hereby    accepted    by      the   Court.

 Accordingly, the Court accepts the plea of guilty, and defendant is

 hereby adjudged guilty. The sentence will be imposed in accordance

 with the Court’s sentencing scheduling order.

       SIGNED September 22, 2009.

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                                                TERRY R. MEANS
                                                UNITED STATES DISTRICT JUDGE
